                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                        Case No. 13-53846

CITY OF DETROIT, MICHIGAN,                                    Chapter 9

            Debtor.                                           Judge Thomas J. Tucker
_________________________________/

       OPINION REGARDING MOTIONS FILED BY THE CITY OF DETROIT:
1) FOR THE ENTRY OF AN ORDER (I) ENFORCING THE PLAN OF ADJUSTMENT
   INJUNCTION AND (II) REQUIRING THE DISMISSAL OF THE STATE COURT
               ACTION FILED BY TANYA HUGHES (DOCKET # 9970);
    2) FOR (I) DETERMINATION THAT THE GOODMAN ACKER AND HAAS &
GOLDSTEIN LAW FIRMS HAVE VIOLATED THE PLAN OF ADJUSTMENT BY (A)
REFUSING TO HONOR AN ADR SETTLEMENT AND/OR (B) SEEKING RELIEF ON
      A PRE-PETITION CLAIM BEYOND THAT ALLOWED BY THE PLAN OF
                             ADJUSTMENT AND
        (II) ORDER ENJOINING FURTHER VIOLATIONS (DOCKET # 9893);
AND 3) FOR ENTRY OF AN ORDER (I) ENFORCING THE PLAN OF ADJUSTMENT
AND (II) REQUIRING THE WITHDRAWAL WITH PREJUDICE OF THE AUGUST 2,
  2013, GRIEVANCE FILED BY THE SENIOR ACCOUNTANTS, ANALYSTS, AND
 APPRAISERS ASSOCIATION ON BEHALF OF CEDRIC COOK (DOCKET # 10183)

I. Introduction

         This case is before the Court on three motions filed by the City of Detroit, seeking

enforcement of the City’s confirmed Chapter 9 plan, entitled the Eighth Amended Plan for the

Adjustment of Debts, which was confirmed on November 12, 2014.1 The only unresolved

question in each motion is whether certain claims arose, for bankruptcy purposes, before the City

filed for protection under chapter 9 of the Bankruptcy Code on July 18, 2013. The question is

important because the City’s liability on pre-petition claims was discharged when the Plan was

confirmed on November 12, 2014, and became effective on December 10, 2014. Claimants



         1
           Docket ## 8045, 8272. The Eighth Amended Plan, as modified by the order confirming the
Plan, is referred to as the “Plan” in this opinion.



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holding pre-petition claims are enjoined from pursuing a recovery beyond what is provided for in

the Plan. See 11 U.S.C. §§ 524(a)(2), 901(a), 944.2 Claimants holding post-petition claims,

however, may be entitled to pursue other remedies, as the claimants involved in each of these

motions are attempting to do.

       A. Tanya Hughes

       The first motion involves a state court lawsuit filed by Tanya Hughes. The motion is

entitled “City of Detroit’s Motion for the Entry of an Order (I) Enforcing the Plan of Adjustment

Injunction and (II) Requiring the Dismissal of the State Court Action Filed by Tanya Hughes (the

“Tanya Hughes Motion”).3 The motion concerns a discrimination suit filed by Ms. Hughes in

February 2015 in the Wayne County Circuit Court, concerning her termination from the Detroit

Police Department.

       The Court held its first hearing on the matter on July 15, 2015. Following the hearing,

the Court ordered the parties to file additional documents4 concerning Ms. Hughes’s termination,

and granted the parties’ request to present additional argument related to the documents at a

second hearing.5 In the interim, the parties resolved some of the issues raised in the motion, but

not the issue of whether the claim arose pre-petition. After holding the second hearing on August

5, 2015, the Court took the matter under advisement.



       2
           See also Plan, article III, section D.3-5 at 49-50 (Docket # 8045).
       3
           Docket # 9970.
       4
         These documents can be found at Docket # 10099. The parties stipulated to their authenticity.
See Stipulation By and Between the City of Detroit and Tanya Hughes (Docket # 10109).
       5
         See Order Regarding Further Proceedings (Docket # 10053); Order Approving Stipulation
(Docket # 10112).

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       B. No-Fault Insurance Act payments

       The second motion is the “City of Detroit’s Motion for (I) Determination that the

Goodman Acker and Haas & Goldstein Law Firms have Violated the Plan of Adjustment by (A)

Refusing to Honor an ADR Settlement and/or (B) Seeking Relief on a Pre-Petition Claim

Beyond that Allowed by the Plan of Adjustment and (II) Order Enjoining Further Violations”

(the NFA Motion”).6 This motion concerns payments for claims against the City arising under

the Michigan No-Fault Insurance Act, Mich. Comp. Laws §§ 500.3101, .3107, .3108, .3142,

.3148, in which claimants were injured pre-petition but require post-petition medical treatment.

The City filed the NFA Motion in response to actions filed in the Wayne County Circuit Court by

healthcare providers who have given post-petition medical treatment to these claimants.

       The Court held a hearing on the NFA Motion on June 10, 2015. Following the hearing,

the Court entered an order resolving a number of issues and scheduling a further hearing for

September 16, 2015, specifically on the issue of whether the claims for post-petition medical

treatment constitute pre-petition claims.7 In advance of the September 16 hearing, the City filed

a brief in support of the NFA Motion.8 Haas & Goldstein, P.C., one of the law firms named in

the NFA Motion which represents healthcare providers in state court, filed a response9 and the

City filed a reply brief.10 Following the September 16, 2015 hearing, the Court took the matter



       6
           Docket # 9893.
       7
           Docket # 9969.
       8
           Docket # 10022.
       9
           Docket # 10116.
       10
            Docket # 10134.

                                                 3



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under advisement.

       C. Cedric Cook grievance

       The third motion concerns a grievance filed on behalf of Cedric Cook. The motion is

entitled “City of Detroit’s Motion for Entry of an Order (I) Enforcing the Plan of Adjustment and

(II) Requiring the Withdrawal with Prejudice of the August 2, 2013, Grievance Filed by the

Senior Accountants, Analysts, and Appraisers Association [the “SAAA”] on Behalf of Cedric

Cook” (the “Cedric Cook Motion”).11 The SAAA, the labor union which represents Cedric

Cook, filed the grievance against the City after Mr. Cook was discharged from his employment

as a Programmer Analyst with the City’s Information Technology Services Department. The

grievance alleges that the Mr. Cook’s discharge was wrongful. The Court held a hearing on the

Cedric Cook Motion on December 2, 2015. The Court permitted the parties to file supplemental

briefs following the hearing, and then took the matter under advisement.12

       For the reasons stated below, the Court concludes that (1) the claims at issue in the Tanya

Hughes Motion and in the NFA Motion constitute pre-petition claims covered by the Plan; but

(2) the Court finds the grievance at issue in the Cedric Cook Motion is a post-petition claim, not

covered by the Plan.

II. Jurisdiction

       This Court has subject matter jurisdiction over this chapter 9 bankruptcy case and these

contested matters under 28 U.S.C. §§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a)



       11
            Docket # 10183.
       12
         See Order Regarding Further Proceedings (Docket # 10648); Supplemental Brs. (Docket ##
10693 & 10711).

                                                 4



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(E.D. Mich.). These are core proceedings under 28 U.S.C. § 157(b)(2)(O), because they are

proceedings “affecting . . . the adjustment of the debtor-creditor . . . relationship.” These are also

core proceedings “arising in” a case under title 11, within the meaning of 28 U.S.C. § 1334(b).

Matters falling within this category are deemed to be core proceedings. See Allard v. Coenen (In

re Trans-Indus., Inc.), 419 B.R. 21, 27 (Bankr. E.D. Mich. 2009) (citing Mich. Emp. Sec.

Comm’n v. Wolverine Radio Co., Inc., 930 F.2d 1132, 1144 (6th Cir. 1991)). As proceedings

that seek to enforce a confirmed chapter 9 plan of adjustment, these are proceedings “arising in”

a case under title 11, because they are proceedings that “by [their] very nature, could arise only in

bankruptcy cases.” See Allard v. Coenen, 419 B.R. at 27.

       These disputes are a type over which this Court retained jurisdiction under the confirmed

Plan. Article VII, sections G and I of the confirmed Plan state:

                       Pursuant to sections 105(c), 945 and 1142(b) of the
               Bankruptcy Code and notwithstanding entry of the Confirmation
               Order and the occurrence of the Effective Date, the Bankruptcy
               Court will retain exclusive jurisdiction over all matters arising out
               of, and related to, the Chapter 9 Case and the Plan to the fullest
               extent permitted by law, including, among other things jurisdiction
               to:
               ....

               G.       Resolve any cases, controversies, suites or disputes that
                        may arise in connection with the consummation,
                        interpretation or enforcement of hte Plan or any contract,
                        instrument, release or other agreement or document that is
                        entered into or delivered pursuant to the Plan or any
                        Entity’s rights arising from or obligations incurred in
                        connection with the Plan or such documents;
               ....

               I.       Issue injunctions, enforce the injunctions contained in the
                        Plan and the Confirmation Order, enter and implement
                        other orders or take such other actions as may be necessary


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                         or appropriate to restrain interference by any Entity with
                         consummation, implementation or enforcement of the Plan
                         or the Confirmation Order . . . .13

III. Background

       A. Tanya Hughes Motion

       Tanya Hughes began working as an officer for the Detroit Police Department (the

“DPD”) in May 1996. After ten years of service, she was promoted to the rank of sergeant.

Until the events described below, Ms. Hughes never had any disciplinary problems.14

       On October 5, 2012, Ms. Hughes was ordered to submit to a random drug screening, in

the form of a urine test. DPD policy requires all “donors,” or employees selected for screening,

to disrobe completely before providing the urine sample. At the time, Ms. Hughes was seven

months pregnant and was wearing compression hosiery that was prescribed by her doctor. There

is a factual dispute regarding whether Ms. Hughes notified the nurse on duty, or anyone at DPD,

about her pregnancy or the compression garment. In any event, Ms. Hughes refused to

completely disrobe to give the urine sample. After several unsuccessful attempts by her

commanding officer and others to convince Ms. Hughes to disrobe and take the test, Ms. Hughes

was issued a “Notice of Suspension, with pay.”15 She was suspended from active duty but

continued to collect her pay and receive her other employment benefits.

       At some point, the Chief of Police petitioned the Board of Police Commissioners to stop



       13
            Docket # 8045 at 69-70.
       14
          See Voluntary Labor Arbitration Tribunal Opinion and Award at 15, 43 (Docket # 10099, Ex.
2, the “Arbitration Decision”).
       15
            Arbitration Decision at 13-18 (Docket # 10099, Ex. 2).

                                                     6



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paying Ms. Hughes or allowing her to receive benefits while she was suspended, but the Board of

Police Commissioners declined to do so.16

        A police trial board convened on December 3, 2012, to hear the charges against Ms.

Hughes related to the drug-screen incident. The charges were 1. “Refusal to Submit to or

Avoidance of Drug Screening Procedures,” 2. “Willful Disobedience of Rules or Orders,” and 3.

“Failure to Notify the Commanding Officer of Any Circumstance that Affects a Member’s

Ability to Perform Their Duties.”17 The trial board found Ms. Hughes guilty on all charges and

recommended that she be dismissed from the DPD.18 The Trial Board Decision, along with a

memorandum from the DPD Disciplinary Administration, was forwarded to Ms. Hughes on

December 19, 2012. The memorandum stated:

                         Attached hereto is the recommendation of the Police Trial
                  Board in the matter of Sergeant Tanya Hughes is [sic] . . .

                          Dismissal from the Detroit Police Department

                          The dismissal from the Department can only be
                          implemented once the twenty (20) day appeal period has
                          expired from the date of receipt.19

        Ms. Hughes appealed the decision to a civilian arbitrator, who possessed the authority to



        16
             See Tanya Hughes’ Resp. and Br. Opposing City of Detroit’s Mot. at 3, ¶ 6 (Docket # 10005).
        17
         See Decision of the Police Trial Board at 2-3 (Docket # 10099, Ex. 1, the “Trial Board
Decision”).
        18
           Trial Board Decision at 3 (Docket # 10099, Ex. 1). Under the collective bargaining agreement
in effect at the time between the City and the Detroit Police Lieutenants and Sergeants Association (the
“DPLSA”), the trial board lacked the authority to actually impose a penalty; its role was simply to make a
recommendation regarding discipline to the Chief of Police. Master Agreement between the City of
Detroit and the DPLSA at 12 (Docket # 10099, Ex. 3, the “DPLSA CBA”).
        19
             Inter-office Memorandum (bold in original) (Docket # 10099, Ex. 1).

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conduct a fresh review of all the evidence and testimony and issue a final, binding decision

regarding whether there was just cause under the CBA for the recommended penalty.20

       The arbitration hearing took place on April 30 and May 6, 2013. But before the arbitrator

issued a decision, the City filed its bankruptcy petition, on July 18, 2013. The arbitrator asked

the City whether the proceedings were subject to the automatic stay but the City never responded,

so the arbitration was stayed for over a year. Finally, on October 22, 2014, the City filed a

motion asking this Court to confirm that the stay does not apply to disciplinary proceedings

initiated by the City against its employees.21 The Court entered an order granting the motion on

November 12, 2014,22 the same day the Court confirmed the City’s Plan.

       The arbitrator issued her decision on December 15, 2014. She affirmed the majority of

the police trial board’s findings of guilt, and affirmed the trial board’s recommendation that Ms.

Hughes be dismissed from the DPD.23 Ms. Hughes stopped receiving pay or benefits the next

day, December 16, 2014.

       On February 27, 2015, Ms. Hughes filed a complaint against the City in the Wayne

County Circuit Court.24 Ms. Hughes alleges that the City violated the Elliott-Larsen Civil Rights

Act, Mich. Comp. Laws § 37.2202(1), and the Persons with Disabilities Civil Rights Act, Mich.

Comp. Laws §§ 37.1103 (d)(i)(A), 37.1202(1)(b), by requiring her to completely disrobe to take



       20
            DPLSA CBA at 6 (section 5(D)); 9-10 (section 9(A)); 14 (section 10(C)) (Docket # 10099).
       21
            See Docket # 8060.
       22
            Docket # 8256.
       23
            Arbitration Decision at 43-44 (Docket # 10099, Ex. 2).
       24
            See Complaint and Jury Demand (Docket # 9970, Ex. 6A, the “Tanya Hughes Complaint”).

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the drug screen and by terminating her for refusing to do so. She seeks a declaratory judgment

that the City violated these laws, and seeks damages for mental and emotional suffering,

“restoration to full duty status and work assignment, reimbursement for lost past and future

wages, overtime, and benefits,” and attorney fees and interest.25

        In the Tanya Hughes Motion, the City contends that the claims Ms. Hughes asserts in her

state court case are pre-petition claims. The City asks the Court to order Ms. Hughes to dismiss

her state court action, with prejudice.26

        Ms. Hughes contends that her state court claims only arose when the arbitrator confirmed

the decision of the police trial board and her termination was actually implemented, such that she

lost pay and benefits. This is because, she argues, a loss of material benefits of employment is a

required element in each of her state court claims against the City.

        B. NFA Motion

        A brief review of the relevant provisions of the Michigan No-Fault Insurance Act and the



        25
             Tanya Hughes Complaint at 6-7 (Docket # 9970, Ex. 6A).
        26
            Initially, the City also asked the Court to bar Ms. Hughes from filing a claim in the City’s
bankruptcy case or allowing her to share in any distribution under the Plan, on its belief that Ms. Hughes
failed to timely file a proof of claim. See Proposed Order (Docket # 9970, Ex. 1). Later, the parties
discovered that the DPLSA did file a timely proof of claim on Ms. Hughes’s behalf, Claim # 1878, with
permission from the Court. The City therefore withdrew its request for this additional relief, while
reserving its right to object to the proof of claim filed by the DPLSA. See Stipulation By and Between
the City of Detroit and Tanya Hughes (Docket # 10109).

          Ms. Hughes did not sign the DPLSA proof of claim. Moreover, the DPLSA proof of claim
explicitly states that, “[p]ursuant to the Bar Date Order, individual members of the DPLSA have the right
to file a Proof of Claim on their own behalf.” Claim # 1878 (Docket # 10109, Ex. A).

         As set forth below, the Court will permit Ms. Hughes to file her own separate proof of claim,
subject to the City’s right to object to the claim. But in no event will Ms. Hughes be permitted to recover
for both the DPLSA proof of claim and her own separate proof of claim.

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settlement in the confirmed Plan regarding no-fault claims against the City is necessary to

understand the issues raised by the NFA Motion.

                                 The Michigan No-Fault Insurance Act

       The act requires owners of motor vehicles to maintain insurance to provide benefits for

reasonable medical expenses and lost wages in the event of a motor vehicle accident, regardless

of fault. Mich. Comp. Laws §§ 500.3101; .3105; .3107–3108. These benefits are referred to as

“personal protection benefits.” See, e.g., Mich. Comp. Laws §§ 500.3107–3108. Under normal

circumstances, a person must look to his or her own insurance provider for personal protection

benefits even if the person is, for example, a passenger in someone else’s motor vehicle. In the

event the person does not have no-fault insurance, for example if they do not own a vehicle, the

statute lists the next potentially responsible party to whom the person must look for benefits, and

the person simply goes down the list until a party with no-fault insurance can be identified. See

Mich. Comp. Laws § 500.3114–.3115.

       When a person’s own insurer pays the benefits, they are known as “first party benefits.”27

With certain exceptions, the No-Fault Act prohibits suits against third parties who may be at

fault, and thus limits claimants’ ability to recover damages beyond personal protection benefits.

Mich. Comp. Laws § 500.3135.

       The City is self-insured for its fleet of vehicles and public buses. Thus, when a person is

injured while riding a City bus, and that person cannot look to a higher priority responsible party,

the City must pay personal protection benefits to that person. Mich. Comp. Laws § 500.3114(2).

The same is true when a City-owned vehicle strikes a pedestrian. Mich. Comp. Laws


       27
            See City of Detroit’s Br. in Supp. of NFA Motion at 4 (Docket # 10022).

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§ 500.3115. These are also referred to as “first party benefits.”28

       The No-Fault Act provides for penalties if a responsible insurer does not pay personal

protection benefits within 30 days after receiving “proof of the fact and of the amount of loss

sustained.” Mich. Comp. Laws § 500.3142(2). Overdue payments bear interest at a rate of 12%

per year. Id. at .3142(3). The act further provides for reasonable attorney fees “for advising and

representing a claimant in an action for personal . . . protection benefits which are overdue.”

Mich. Comp. Laws § 500.3148(1).

                             Treatment of No-Fault Claims under the Plan

       Over 300 first party no-fault claims for personal protection benefits were filed against the

City in this bankruptcy case, relating to accidents that occurred prior to the July 18, 2013 petition

date. After negotiating with the State of Michigan over how to treat these claims while

maintaining the ability to self-insure its vehicles, the City agreed to pay 100% of the personal

protection benefits for “valid prepetition Claims,” but the State agreed to allow the City to forego

payment of interest or attorney fees for any overdue payments on these claims normally required

by Mich. Comp. Laws §§ 500.3142 and 500.3148. The settlement was incorporated into the

City’s confirmed Plan. The provision of the Plan incorporating the settlement provides:

       S.        Payment of Certain Claims Relating to the Operation of City Motor
                 Vehicles

                        From and after the Effective Date, the City will continue to
                 administer (either directly or through a third party administrator)
                 and pay valid prepetition Claims for liabilities with respect to
                 which the City is required to maintain insurance coverage pursuant
                 to MCL § 500.3101 in connection with the operation of the City’s
                 motor vehicles, as follows: (1) Claims for personal protection


       28
            See City of Detroit’s Br. in Supp. of NFA Motion at 5 (Docket # 10022).

                                                    11



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                  benefits as provided by MCL § 500.3107 and MCL § 500.3108, for
                  which insurance coverage is required by MCL 500.3101(1), shall
                  be paid in full, to the extent valid, provided, however, that the City
                  will not be liable for or pay interest or attorneys’ fees under MCL §
                  500.3142 or MCL § 500.3148 on prepetition Claims for personal
                  protection benefits. . . . Nothing in the Plan shall discharge, release
                  or relieve the City from any current or future liability with respect
                  to Claims subject to insurance coverage pursuant to MCL §
                  500.3101 . . . . The City expressly reserves the right to challenge
                  the validity of any Claim subject to this Section IV.S, and nothing
                  herein shall be deemed to expand the City’s obligations or
                  claimants’ rights with respect to these Claims under State law.29

       The City reports that, since the Plan was confirmed and became effective in late 2014, the

City has settled over 100 claims for personal protection benefits incurred pre-petition.30

                                           State Court Lawsuits

       There was some delay on the part of the City in paying the settlements as well as claims

for treatment provided post-petition to the claimants, including the accident victims and

healthcare providers who treated the accident victims. Many of these unhappy claimants filed

lawsuits against the City in state court, which prompted the City to file the NFA Motion.

       Several of these state court cases settled or were resolved by order entered by this Court

on June 15, 2015, following the first hearing on the NFA Motion.31 The order provides a

timeline for the City to pay any settlements it reaches regarding these claims:

                          The City must submit settlements of Pre-Petition MVA
                  [motor vehicle accidents] claims to City Council for approval
                  within thirty (30) days after the City’s receipt of all fully executed
                  settlement documents including, where applicable, Medicare


       29
            Plan, article IV, section S at 62-63 (Docket # 8045).
       30
            NFA Motion at 7-8 (Docket # 9893).
       31
            See Order on Stipulation at ¶¶ 2-6 (Docket # 9969).

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                  affidavits. City Council must act within 21 days of receipt of the
                  documents. Upon approval by City Council, the City must issue
                  the settlement check within sixty (60) days after City Council
                  approval. Provided, however, if settlement papers have been
                  provided to the City prior to the date of this Order, the thirty (30)
                  days for submission to City Council will begin to run on the date of
                  entry of this Order. H&G and Goodman Acker must, within ten
                  (10) days after entry of this Order, submit to the City law
                  department duplicate copies of any previously submitted settlement
                  documents. In the event a settlement has been approved by City
                  Council prior to entry of this Order, the 60 days for issuing
                  payment will begin to run on entry of this Order.32

        The only remaining state court case relevant to the NFA Motion is the case filed against

the City by Summit Medical Group, PLLC and Summit Physicians Group, PLLC (“Summit”),

which is represented by attorney Justin Haas of the law firm Haas & Goldstein, P.C. (“Haas”).33

That case concerns payment for medical treatment given by Summit to Ms. Sheila Williams, who

sustained injuries in a motor vehicle accident involving a vehicle for which the City is self-

insured, where the City was determined to be the responsible insurer.34 The accident occurred

pre-petition, and Ms. Williams began receiving medical treatment from Summit for her injuries

pre-petition. The City settled Summit’s claim for these costs, and that settlement is now subject

to the timeline set forth in the Court’s Order from June 15, quoted above. The parties agree that



        32
             Order on Stipulation at ¶ 5 (Docket # 9969).
        33
           The Court notes, however, that during the June 10, 2015 expedited hearing on the NFA
Motion, Haas indicated there may be many other claimants with similar claims, who simply have not
filed yet. June 10, 2015 Hrg. Tr. at 7-8 (Docket # 9971). Haas therefore is participating in the
proceedings on the NFA Motion as an interested party, representing itself. Although the bankruptcy
claim belongs to Summit, Haas is an interested party because Summit seeks attorney fees and because the
City’s NFA Motion seeks relief against Haas.
        34
           At the second hearing on the NFA Motion on September 16, 2015, counsel for Summit stated
that “his recollection” was that Ms. Williams was injured while riding on a City bus. Audio recording of
oral argument at 20:06-20:35 (available at Docket # 10186).

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the Plan prohibits interest and attorney fees relating to the payments covered by that settlement.

         The parties further agree that the City is required to pay 100% of the cost of medical

treatment arising from the pre-petition accident but provided to Ms. Williams after July 18, 2013.

The dispute concerns only whether Summit and Haas are entitled to interest and attorney fees for

any unreasonable delay on the part of the City in paying these costs for treatment provided post-

petition. That question turns on when Summit’s claim for these costs arose for bankruptcy

purposes. If the claim arose pre-petition, then the Plan controls and Haas and Summit are not

entitled to interest or attorney fees under the motor vehicle claimants’ settlement; if the claim

arose post-petition, then the No-Fault Act governs and Haas and Summit may be entitled to

pursue interest and attorney fees in state court under Mich. Comp. Laws §§ 500.3142 and

500.3148.

         The City argues that because the claim arises from a pre-petition motor vehicle accident,

it constitutes a pre-petition claim regardless of when the medical care is provided. Haas argues

that the claim arises post-petition because neither Ms. Williams nor Summit can demand

payment from the City for medical care until the care is actually given.

         C. Cedric Cook Motion

         Cedric Cook was a Senior Programmer Analyst with the City’s Information Technology

Services Department (hereafter, “ITSD”), where his primary duty was to staff the ITSD help

desk. At the time he was discharged from employment, he had worked for the City for over 32

years.

         According to his supervisor, the disciplinary problems which eventually led to Mr.

Cook’s discharge began in May 2011. His main problem was that he was often away from his


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desk during work hours. After several unsatisfactory performance reviews, Mr. Cook was given

a copy of the ITSD rules of conduct, which set forth the department’s disciplinary procedures and

“suggested disciplinary actions.”35 The rules of conduct classify employee misconduct by

groups. Relevant to the Cook Motion are Group II offenses, which include leaving a work area

and failure to report absences to a supervisor, and Group IV offenses, which include “wanton or

willful neglect in the performance of assigned duties . . . .” For Group II offenses, the suggested

discipline is a written reprimand for a first offense, a “substantial suspension” for a second

offense, and discharge for a third offense. For Group IV offenses, the suggested discipline for a

first offense is discharge.36

        In September 2012, Mr. Cook failed to report to work, and then called in mid-day to

request a vacation day, a Group II violation. Because this was his first Group II offense, he

received a written reprimand, on September 18, 2012. The reprimand states, “[u]nless you

improve your behavior, this Department will take action to suspend you from your duties.”37

        On November 16, 2012, Mr. Cook again failed to appear for work or to report his absence

to a supervisor. Because this was his second Group II offense, Mr. Cook was suspended from

work for five days.

        The third major incident took place on July 18, 2013, the same day the City filed

bankruptcy. The parties dispute what happened that day, but the City alleges Mr. Cook again

failed to appear for work or timely report his absence. Attached to the Cook Motion are two


        35
             See Declaration of Cynthia Humphries Pearson (Docket # 10183, Ex. 6A).
        36
             Id.
        37
             City of Detroit Written Reprimand Form (bold in original) (Docket # 10183, Ex. 6D).

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emails to Mr. Cook from Chuck Dodd, the director of the City’s IT department at that time,

asking about Mr. Cook’s whereabouts because no one had seen him at his desk. Mr. Dodd sent

the first email at 1:14 pm, and the second email at 2:22 pm.38 The City filed bankruptcy at 4:06

pm.

       Mr. Cook did not respond to the emails until the following day, when he wrote to Mr.

Dodd, “[y]ou must come at times when I’m either at lunch or break but I’m always around. I

take calls all day including at 7:30 when I first arrive. You can check the tickets and calls.”39

       On July 25, 2013, the City created a Disciplinary Action Sheet relating to the July 18

incident with Mr. Cook.40 The document states:

                  On July 18, 2013, Cedric Cook violated the following ITS work
                  rules:

                  1) Work Performance (Group I offense) - Failed to answer in-
                  coming help desk calls.

                  2) Leaving the Work Area (Group II offense) - Failed to obtain
                  permission to leave work area for extended period.

                  3) Neglect of Duty (Group IV offense) - Neglected to perform his
                  assigned duty of answering incoming help desk calls.

                  As Mr. Cook received a written reprimand on September 18, 2012
                  and a suspension on November 30, 2012 for violation of ITSD’s
                  rules of conduct this violation is a third occurrence and warrants a
                  30 day suspension pending discharge.

       The following day, the City issued a Notice of Suspension to Mr. Cook.41 The notice


       38
            Docket # 10183, Ex. 6G.
       39
            Id.
       40
            Docket # 10183, Ex. 6I.
       41
            Docket # 10183, Ex. 6J.

                                                   16



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states that the suspension “is with a recommendation for DISCHARGE/PROBATIONARY

SEPARATION.” The reason listed is “Group IV Offense - Neglect of Duty: Wanton & willful

neglect in the performance of assigned duties or in the care, use or custody of any City

property. . . .”42

        Mr. Cook’s labor union, the Senior Accountants, Analysts, and Appraisers Association

(the “SAAA”), filed a grievance against the City on Mr. Cook’s behalf on August 2, 2013 (the

“Grievance”) .43 The Grievance alleges that in deciding to suspend and discharge Mr. Cook

following the July 18, 2013 incident, the City violated the City Employment Terms then in effect

for all non-uniform City employees.44 The Grievance requests that Mr. Cook be allowed to

return to work and be “ma[de] whole.” Following a hearing on August 22, 2013, the City denied

the Grievance and shortly thereafter served Mr. Cook with a Notice of Discharge Form, which

stated that Mr. Cook’s discharge would become effective on August 24, 2013. The reason listed

for his discharge is, again, the Group IV Offense - “Neglect of Duty: Wanton & willful neglect in

the performance of assigned duties . . . .”45

        Mr. Cook appealed the denial of the Grievance to arbitration. The arbitrator set a hearing


        42
             Id.
        43
          Docket # 10183, Ex. 6K. The City and the SAAA dispute whether the claims asserted in the
Grievance belong to Mr. Cook or the SAAA. Because the Court finds the claims arose post-petition, it is
unnecessary to resolve this issue. For clarity and simplicity’s sake, the Court will refer to the claims as
belonging to Mr. Cook in this opinion, but this language should not be interpreted as the Court’s finding
or conclusion on the issue.
        44
           City Employment Terms are similar to a collective bargaining agreement in that they govern
the terms and conditions of employment for City employees and set forth procedures for employee
discipline. The City Employment Terms in effect from April 2012 through July 2014 are attached as
Exhibit 1 to the SAAA’s brief filed in response to the Cook Motion (Docket # 10217).
        45
             See City of Detroit Notice of Discharge Form (Docket # 10183, Ex. 6L).

                                                    17



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date for June 25, 2015. However, on June 12, 2015, the City advised Mr. Cook that it believed

the arbitration was barred by the bankruptcy proceedings and the City’s confirmed Plan. The

parties therefore agreed to adjourn the arbitration so the City could file the Cedric Cook Motion

and this Court could rule on the issue.

        The City argues that Mr. Cook’s claims arose pre-petition because he had been previously

disciplined and was aware that a third Group II violation of the ITSD’s rules of conduct would

result in his suspension and discharge. As a result, the City says, the claims were discharged by

the Plan, and the arbitration proceeding violates the injunction provisions set forth in the Plan.

Furthermore, the City argues that because Mr. Cook had a pension claim against the City and

voted to accept the Plan, including its release provisions,46 he waived the right to pursue any pre-

petition claims against the City, including any claims asserted by the SAAA on his behalf.47


        46
             The City relies on language in Mr. Cook’s ballot which states:

                  If you accept the Plan, you are voting to approve a release of any
                  claims that you have against the State, the City, and other entities in
                  connection with the loss of part of your pension.

                  If you vote to accept the Plan, you are also voting to approve certain
                  other . . . injunction and release provisions contained in the Plan. . . .
                   Specifically, this release would release all claims and liabilities
                  arising from or related to the City . . . .

(Bold in original)(Docket # 10183, Ex. 6N). The Plan’s release language states, “each holder of a Claim
that votes in favor of the Plan, to the fullest extent permissible under law, will be deemed to forever
release, waive and discharge . . . all Liabilities in any way relating to the City . . . .” Plan, article III,
section D.7 at 52 (Docket # 8045).
        47
          The City initially took the position that the claims were discharged and waived as long as they
arose pre-confirmation. However, the City withdrew these arguments, and now only argues that the
claims are discharged or waived if they arose pre-petition. See City of Detroit’s Supplemental Br.
Regarding Its Mot. to Enforce Against Cedric Cook at 2 (Docket # 10711) (“[A]t the hearing, the City
withdrew its argument that [the] claim was discharged even if it arose after the commencement of the
City’s bankruptcy case. The City now withdraws its argument that the claim was released if it arose after
the commencement of the City’s bankruptcy case. Thus, the City’s remaining argument is that the

                                                      18



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Finally, the City argues Mr. Cook should not be allowed to file a late proof of claim relating to

the Grievance, as he made no attempt to do so during the pendency of the City’s bankruptcy case

or the Cook Motion.

IV. Applicable law

        The Bankruptcy Code defines “claim” as a “right to payment, whether or not such right is

reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,

undisputed, legal, equitable, secured, or unsecured . . . .” 11 U.S.C. § 101(5). “Congress

intended by this language to adopt the broadest available definition of ‘claim,’” Johnson v. Home

State Bank, 501 U.S. 78, 83 (1991) (citations omitted), which includes “‘all legal obligations of

the debtor, no matter how remote or contingent.’” In re Huffy Corp., 424 B.R. 295, 301 (Bankr.

S.D. Ohio 2010) (quoting Grady v. A.H. Robins Co., Inc., 839 F.2d 198, 200 (4th Cir. 1988)).

This broad definition serves the two primary goals of bankruptcy: to ensure that all creditors are

treated equitably and to secure a fresh start for the debtor. As the Huffy court put it, “a broad

definition of claim allows a bankruptcy court to deal fairly and comprehensively with all

creditors in the case and, without which, a debtor’s ability to reorganize would be seriously

threatened by the survival of lingering remote claims and potential litigation rooted in the

debtor’s prepetition conduct.” 424 B.R. at 301.

        Ms. Hughes and Haas (on behalf of Summit) both argue that their claims arose post-

petition because they had no pre-petition “right to payment”: Ms. Hughes, because she had not

lost any material work benefits, an essential element of her state law employment discrimination




grievance claim was discharged or released under the confirmed Plan of Adjustment if it arose prior to
the commencement of the City’s bankruptcy case.”).

                                                   19



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claims, and Haas/Summit, because neither accident victims nor healthcare providers are entitled

to payment for medical care under the Michigan No-Fault Act until they actually receive or

administer the care. Similarly, Mr. Cook argues that his claim arose post-petition because there

was no cause to file the Grievance under the City Employment Terms until he was actually

suspended and discharged.

       Haas/Summit, Ms. Hughes, and Mr. Cook may be correct that their claims were not yet

actionable under state law or the City Employment Terms as of the petition date. But the

question of when a claim arises under the Bankruptcy Code is governed by federal law. In re

Parks, 281 B.R. 899, 902 (Bankr. E.D. Mich. 2002) (citations omitted). And, as the above

quoted definition of “claim” in section 101(5) of the Bankruptcy Code indicates, pre-petition

claims that are “contingent” or “unmatured,” and thus not presently actionable, may be

discharged. In re Dixon, 295 B.R. 226, 229-30 (Bankr. E.D. Mich. 2003) (citing In re Kilbarr

Corp. v. G.S.A. (In re Remington Rand Corp.), 836 F.2d 825, 830-31 (3rd Cir. 1988)) (other

citations omitted) (“Courts have been careful to distinguish when a right to payment arises for

bankruptcy purposes, and when the cause of action accrues.”).

       In Parks, the court explained the meaning of a “contingent” debt, as that term is used in

section 101(5):

                       A “contingent debt is ‘one which the debtor will be called
               upon to pay only upon the occurrence or happening of an extrinsic
               event which will trigger the liability of the debtor to the alleged
               creditor.’” Thus, a right to payment need not be concurrently
               enforceable in order to constitute a claim that is dischargeable in
               bankruptcy. See Riverwood Int’l Corp. v. Olin Corp. (In re
               Manville Forest Prods. Corp.), 225 B.R. 862, 866 (Bankr.
               S.D.N.Y. 1998) (“Because contingent and unmatured rights of
               payment are ‘claims’ under the Code, it is possible that a right to
               payment that is not yet enforceable at the time of the filing of the

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               petition under non-bankruptcy law, may be defined as a claim
               within section 101(5)(A) of the Code.”). See also Kilbarr Corp. v.
               G.S.A. (In re Remington Rand Corp.), 836 F.2d 825, 832 (3rd Cir.
               1988) (“[A] party may have a bankruptcy claim and not possess a
               cause of action on that claim.”).

In re Parks, 281 B.R. at 901-02 (other citations omitted).

       By contrast, “it is well-settled that ‘a debt is noncontingent if all events giving rise to

liability occurred prior to the filing of the bankruptcy petition.’” In re Redburn, 193 B.R. 249,

259 (Bankr. W.D. Mich. 1996) (emphasis added) (quoting Nicholes v. Johnny Appleseed of

Wash. (In re Nicholes), 184 B.R. 82, 88 (B.A.P. 9th Cir. 1995)).

       A “matured claim” is one that is “‘unconditionally due and owing,’” while an “unmatured

claim,” is “one which is not yet due and owing.” In re Cleveland, 349 B.R. 522, 532 (Bankr.

E.D. Tenn. 2006) (citation omitted).

       There are limits to how remote or contingent a claim can be, consistent with creditors’

rights to due process. Courts have therefore developed several different tests to decide when a

contingent or unmatured claim arises for bankruptcy purposes.

       First, the “right to payment” test provides that a claim arises for bankruptcy purposes only

after each element of the claim has been established. This test has been widely rejected since it

was adopted by the Third Circuit in Avellino & Bienes v. M. Frenvile Co., Inc. (In re Frenville

Co., Inc.), 744 F.2d 332 (3rd Cir. 1984), and the Third Circuit itself later rejected this test. See

Jeld-Wen, Inc. v. Van Brunt (In re Grossman’s, Inc.), 607 F.3d 114, 120 (3rd Cir. 2010)

(citations omitted) (overruling the “right to payment” test, and noting that “[t]he courts of appeals

that have considered Frenville have uniformly declined to follow it”).

       Under the second test, the “debtor’s conduct” test, “a claim arises when the conduct by


                                                  21



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the debtor occurs, even if the actual injury is not suffered until much later.” In re Parks, 281

B.R. at 902 (citations omitted). This approach has been criticized, in certain contexts, “as

patently unfair to creditors,” particularly where the creditor had no significant pre-petition

relationship with the debtor. Signature Combs, Inc. v. United States, 253 F. Supp. 2d 1028, 1035

(W.D. Tenn. 2003)).

       Third and finally, as explained in In re Senczyszyn, 426 B.R. 250 (Bankr. E.D. Mich.

2010), aff’d, 440 B.R. 750 (E.D. Mich. 2011):

                        The most widely adopted test, followed by Parks and
               Dixon, has been alternately termed the “fair contemplation,”
               “foreseeability,” “pre-petition relationship,” or “narrow conduct”
               test. It looks at whether there was a pre-petition relationship
               between the debtor and the creditor, “such as contract, exposure,
               impact or privity,” such that a possible claim is within the fair
               contemplation of the creditor at the time the petition is filed.

Id. at 257 (quoting Dixon, 295 B.R. at 230) (other citations omitted). Under this test, a claim is

considered to have arisen pre-petition if the creditor “could have ascertained through the exercise

of reasonable due diligence that it had a claim” at the time the petition is filed. Signature Combs,

253 F. Supp. 2d at 1037 (quotation & citations omitted). This test, which the Court will refer to

as the “fair contemplation test,” has the advantage of allowing the Court to examine all of the

circumstances surrounding a particular claim — the debtor’s conduct, the parties’ pre-petition

relationship, the parties’ knowledge, the elements of the underlying claim — and use its best

judgment to determine what is fair to the parties, in context. As the Huffy court points out, “one

approach may not fit all circumstances.” 424 B.R. 295, 303 (Bankr. S.D. Ohio 2010).

       The Court will follow and apply the “fair contemplation test” here, because the Court

concludes that it is the correct approach.


                                                 22



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       For the reasons that follow, the Court concludes that Ms. Hughes and Summit were each

involved in a pre-petition relationship with the City, such that their claims were within their fair

contemplation prior to the date the City filed bankruptcy. As for Mr. Cook, the Court concludes

that while he may have been involved in a pre-petition relationship with the City, the claims

asserted in the Grievance were not within his fair contemplation prior to the date and time the

City filed bankruptcy.

V. Discussion

       A. NFA claimants

       Haas argues that because the City need not act in order to incur liability for first party

benefits under the No-Fault Act, the only conduct relevant to the Court’s “fair contemplation”

analysis is Ms. Williams’ decision to seek medical treatment and Summit’s decision to render the

treatment to Ms. Williams. In effect, Haas argues that any claim for post-petition benefits was

not within the parties’ fair contemplation prior to the filing of the petition, because Ms. Williams

could have decided not to seek the reasonably necessary medical treatment.48

       The Court disagrees. It is true that the No-Fault Act assigns liability differently than

ordinary principles of fault-based tort law. It is nevertheless clear that a significant pre-petition

relationship between Ms. Williams and the City arose simply by operation of the No-Fault Act

when the bus accident occurred, Ms. Williams was injured, and there were no higher priority no-

fault insurers responsible for Ms. Williams’ first party benefits. Ms. Williams was thereafter

entitled to payment from the City for first party benefits, including reasonably necessary medical



       48
          See Haas Resp. to City of Detroit’s Br. at 6-7 (Docket # 10116). Haas/Summit does not argue
that Ms. Williams’s need for post-petition medical treatment was not foreseeable.

                                                  23



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care. Of course, the City did not actually owe money until Ms. Williams sought out and received

the medical care. But that does not mean Ms. Williams’ claim did not arise for bankruptcy

purposes until the moment she received the care. Rather, her claim arose when the accident

occurred that gave rise to her pre-petition relationship with the City, although the claim was

contingent on Ms. Williams receiving the medical care (and the care being reasonably necessary,

see Mich. Comp. Laws § 500.3107). The arrangement is similar to a contractual agreement for

indemnification executed pre-petition, which “courts . . . have almost universally held . . . is a

prepetition contingent claim.” In re Huffy Corp., 424 B.R. 295, 305 (Bankr. S.D. Ohio 2010).

       The Court’s analysis does not change when Summit, the healthcare provider, is

substituted for Ms. Williams, the accident victim. For one thing, Haas explicitly takes the

position that there should be no difference.49

       Additionally, under Michigan law, healthcare providers have no greater rights under the

No-Fault Act than do accident victims. In TBCI, P.C. v. State Farm Mutual Insurance Company,

795 N.W.2d 229 (Mich. Ct. App. 2010), TBCI, a healthcare provider, gave medical treatment to

Eric Afful following an automobile accident. Mr. Afful’s no-fault insurer, State Farm, denied

coverage to Mr. Afful on the grounds that the claims he submitted were fraudulent. Id. at 230.

Mr. Afful unsuccessfully sued for wrongful denial of coverage in separate litigation. Id. In that

litigation, State Farm prevailed in establishing its fraud claim. TBCI then sued State Farm,

arguing that it had an “‘independent cause of action’ involving a claim of services that ‘was not

adjudicated in the Wayne County action.’” Id. In affirming the trial court’s dismissal of TCBI’s

claim on res judicata grounds, the Michigan Court of Appeals held that:


       49
            See audio recording of oral argument at 21:45-23:45 (available at Docket # 10186).

                                                    24



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               Plaintiff, by seeking coverage under the policy, is now essentially
               standing in the shoes of Afful. Being in such a position, there is
               also no question that plaintiff, although not a party to the first case,
               was a “privy” of Afful. “A privy of a party includes a person so
               identified in interest with another that he represents the same legal
               right. . . .”

Id. at 232 (quoting Begin v. Mich. Bell Tel. Co., 773 N.W.2d 271, 283 (Mich. Ct. App. 2009));

see also Garden City Rehab, LLC v. State Farm Mut. Auto. Ins. Co., No. 320543, 2015 WL

3796373, at *4 (Mich. Ct. App. June 18, 2015) (where no-fault claimant/patient lost claim for

coverage in previous lawsuit, plaintiff healthcare provider “was in privity with [no-fault

claimant/patient] because plaintiff was required to ‘stand in his shoes’ in order to recover no-

fault benefits from defendant.”).

       Wyoming Chiropractic Health Clinic, PC v. Auto-Owners Insurance Company, 864

N.W.2d 598 (Mich. Ct. App. 2014), does not involve any res judicata or collateral estoppel

issues. In that case the Michigan Court of Appeals held that healthcare providers have standing

under the No-Fault Act to bring direct claims against no-fault insurers for recovery of benefits

and for interest and attorney fees. Id. at 603. However, the court emphasized language in the

No-Fault Act which provides that “personal protection insurance benefits are payable to or for

the benefit of an injured person.” Id. at 601 (emphasis added) (citing Mich. Comp. Laws

§ 500.3112). Thus, while the providers may bring a direct action, they are only entitled to

recover whatever the accident victims themselves are entitled to recover. See also, e.g., Moody v.

Home Owners Ins. Co., 849 N.W. 2d 31, 46-48 (Mich. Ct. App. 2014) (holding that “the

providers’ claims are dependent on establishing [the accident victim’s] claim,” and further noting

that if an accident victim “waives” a claim for personal injury benefits, “a service provider’s

remedy is to seek payment from the injured person”); Aetna Cas. & Sur. v. Starkey, 323 N.W.2d

                                                 25



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325, 329 (Mich. Ct. App. 1982) (“Under the [No-Fault] statute, Aetna could have paid the

medical providers for the medical bills incurred by the defendant’s son so long as it was not

notified of another claim.”) (abrogated in part on other grounds by Wyoming Chiropractic, 864

N.W.2d at 604; Garcia v. Butterworth Hosp., 573 N.W.2d 627 (Mich. Ct. App. 1997)).

       Finally, Summit presumably was in a position to determine whether the City, as Ms.

Williams’s no-fault insurer, was in bankruptcy before Summit provided any post-petition care to

Ms. Williams. Haas does not argue that either Summit or Haas did not have notice of the City’s

well-publicized bankruptcy. Summit thus voluntarily associated itself with Ms. Williams’s pre-

petition relationship with the City. See In re Pan American Hosp. Corp., 364 B.R. 839, 848

(Bankr. S.D. Fla. 2007) (“Even assuming for sake of argument that [a representative of a

decedent’s estate] is considered a new claimant under state law, the chain of events or

‘relationship’ that gave rise to her claim—which is the focus of bankruptcy law—unquestionably

began with the Hospital’s pre-petition negligent treatment of [the decedent].”).

       Under these circumstances, and for the reasons stated above, the Court concludes that

Summit’s claim for payment relating to post-petition medical treatment of Ms. Sheila Williams,

whether already provided or to be provided, constitutes a pre-petition claim.

B. Tanya Hughes

       Ms. Hughes argues that her sex and disability discrimination claim was not within her fair

contemplation when the City filed bankruptcy on July 18, 2013; she contends that the fair

contemplation test requires that a creditor know they will have a claim against a debtor before the

debtor files bankruptcy. In other words, if a contingent claim is dependent on the occurrence of

an extrinsic event, Ms. Hughes’s position is that the parties must be certain the event will occur


                                                26



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before the contingent claim can be within the creditor’s fair contemplation.

       Applied to her claim, she argues that as of the petition date, she had no way of knowing

whether the arbitrator would affirm the recommendation of dismissal by the police trial board

and, had the arbitrator concluded the recommendation to terminate her was without just cause,

the City would have been bound by that determination and she would have no claim. Thus, she

argues, her claim cannot be said to have been within her fair contemplation as of the petition

date, and is therefore a post-petition claim.

       For her interpretation of the fair contemplation test, Ms. Hughes relies heavily on a

quotation from In re Chicago, Milwaukee, St. Paul & Pacific Railroad Co., 974 F.2d 775, 786

(7th Cir. 1992), contained in Signature Combs, 253 F. Supp. 2d at 1037. In a string cite of cases

applying the fair contemplation test to CERCLA50 environmental liability claims, the Signature

Combs court characterizes the In re Chicago, Milwaukee case as “holding, for discharge

purposes, that a CERCLA claim arises when the claimant can ‘tie the bankruptcy debtor to a

known release of a hazardous substance which this potential claimant knows will lead to

CERCLA response costs.’” Signature Combs, 253 F. Supp. 2d at 1037 (quoting Chicago,

Milwaukee, 974 F.2d at 786). But Ms. Hughes overstates the holding of the Chicago, Milwaukee

case by limiting her reading of the case to the short quotation contained in Signature Combs.

       Chicago, Milwaukee is a CERCLA liability case decided under Section 77 of the

Bankruptcy Act of 1898. 974 F.2d at 777. Ms. Hughes characterizes the court’s holding as

setting forth a general rule that the earliest point at which a creditor can have a contingent claim



       50
          CERCLA is the Comprehensive Environmental Response, Compensation, and Liability Act, 42
U.S.C. §§ 9601-9675.

                                                 27



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is when the creditor knows all elements of the creditor’s claim will eventually come to fruition.

This is incorrect for several reasons. First, the court in Chicago, Milwaukee declined to adopt

any rule at all; its holding is limited to the facts of that case. Id. at 786 (“rather than adopting

such a rule, or any rule, we explain below that . . .” (emphasis added)). Second, to the extent the

court offers an “explanation” of its holding, rather than a rule, it is clear the court applies a

broader definition of contingent claim than Ms. Hughes argues:

                        Just as it was unnecessary for the Union Scrap court to
                derive such a rule that would make the ability to discharge
                CERCLA claims in the bankruptcy context forever dependent on
                whether a party first incurs response costs, we find that it is
                unnecessary to set forth such a rule in this case. For this reason,
                rather than adopting such a rule, or any rule, we explain below that
                when a potential CERCLA claimant can tie the bankruptcy debtor
                to a known release of a hazardous substance which this potential
                claimant knows will lead to CERCLA response costs, and when
                this potential claimant has, in fact, conducted tests with regard to
                this contamination problem, then this potential claimant has, at
                least, a contingent CERCLA claim for purposes of Section 77.

Id. at 786 (emphasis added) (footnote omitted).

        Finally, the Chicago, Milwaukee court rejects the argument that the creditor had no claim

until it received final results of post-plan consummation soil tests; instead the court finds that the

contingent claim could have arisen even before the creditor performed the soil tests — as early as

when the creditor was first notified that a pre-petition spill had taken place. Id. at 787.

        When the fair contemplation test is applied properly, it is clear that Ms. Hughes’s claims

arose pre-petition. Ms. Hughes does not dispute that the City’s relevant conduct, what Ms.

Hughes calls the “underlying act,” occurred when the DPD refused to make an exception




                                                   28



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regarding its drug testing policy, on October 5, 2012.51 It is undisputed that the police trial board

recommended she be dismissed from the DPD on December 3, 2012, and that Ms. Hughes was

mailed a written notice of the trial board’s recommendation on December 19, 2012. Ms. Hughes

was thus aware of the City’s conduct underlying her employment discrimination claim (its refusal

to deviate from its drug testing procedures) and aware that the police trial board recommended

dismissal (for her refusal to follow the drug testing procedures) well in advance of the petition

date of July 18, 2013.

        The Court need not decide precisely when Ms. Hughes’s employment discrimination

claim arose for bankruptcy purposes; it is clear that her claim was within her fair contemplation

prior to July 18, 2013, although it may have been contingent on whether the arbitrator affirmed

the recommendation of the police trial board, the event that would cause Ms. Hughes to sustain

material damages.52 Ms. Hughes may not have known for certain that she would have an

actionable claim against the City, but certainty is not the standard. The standard is whether the

contingent claim was within Ms. Hughes’s fair contemplation. Because the “underlying act”

occurred pre-petition, the City indicated its intent to dismiss Ms. Hughes pre-petition, and Ms.

Hughes was involved in disciplinary proceedings to determine whether the City had just cause to

dismiss Ms. Hughes pre-petition, the Court concludes that a bankruptcy claim was within Ms.

Hughes’s fair contemplation.

C. Cedric Cook Motion

        51
             See Tanya Hughes’ Resp. and Br. Opposing City of Detroit’s Mot. (Docket # 10005) at 8, ¶ 20.
        52
           For the purpose of this analysis, the Court assumes, but does not rule, that Ms. Hughes’ pre-
petition suspension with pay does not constitute the adverse employment action required for a claim to
accrue under the Elliott-Larsen Civil Rights Act or the Persons with Disabilities Civil Rights Act. The
parties dispute this issue, but the Court finds it unnecessary to resolve it.

                                                    29



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        The circumstances of Mr. Cook’s employment-related claim differ significantly from

those of Ms. Hughes’s claims. Mr. Cook’s claim against the City is based on the City’s decision

to discharge Mr. Cook from employment. Mr. Cook first received notice of the City’s decision

to suspend and discharge him on July 26, 2013, more than a week after the City filed bankruptcy.

By contrast, Ms. Hughes was first formally notified of the police trial board’s decision to

recommend her discharge from employment in December 2012.

        The City’s position is that Mr. Cook could have fairly contemplated a claim against the

City for wrongful termination or discharge when he allegedly failed to report to work on the

morning of July 18, 2013. This is because, the City argues, Mr. Cook had been given a copy of

the ITSD rules of conduct, and was therefore aware that a third Group II violation (leaving the

work area and failing to report absence) would result in his discharge.

        The City’s argument fails. First, Mr. Cook disputes that he committed a third Group II

offense by not reporting to work on July 18, 2013.53 (If he did, in fact, report to work that

morning, he could not have contemplated a claim against the City for wrongful termination based

on a third violation of the rules of conduct, because he would not have committed a third

violation.) This factual issue would be addressed in arbitration on the Grievance.

        Second, even assuming Mr. Cook did commit a third Group II violation, the disciplinary

actions listed in the ITSD rules of conduct are not mandatory, they are “suggested disciplinary

actions.”54 There is no proof in the record that Mr. Cook was informed that he would in fact be

        53
          This is another difference between Mr. Cook’s claim and Ms. Hughes’s claim. There is no
doubt that Ms. Hughes refused to take the drug test, nor could there be. Her dispute concerns the
appropriateness of the DPD policy of requiring that officers disrobe and the City’s alleged failure to
accommodate her pregnancy.
        54
             See ITSD Rules of Conduct (Docket # 10183, Ex. 6A).

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fired if he committed a third Group II offense.55 Nor is there proof that the City was required by

the ITSD rules of conduct (or any other rules) to discharge Mr. Cook. It is not even clear from

the record that the City had actually decided to discharge Mr. Cook before the petition was filed.

Put simply, the City could have chosen not to discipline Mr. Cook, or it could have chosen to

suspend him instead of discharging him.

         Unlike in Ms. Hughes’s case, the City neither notified Mr. Cook that he would be

discharged nor initiated disciplinary proceedings against Mr. Cook for the July 18, 2013 incident

until after the bankruptcy petition was filed.

         The City points out that the SAAA Grievance states that the “Date Incident Occurred

Causing Grievance” is July 18, 2013. The Court has considered this fact, but does not find it

controlling in applying the fair contemplation test, in light of the other circumstances discussed

above.

         The SAAA argues, in part, that Mr. Cook’s claim did not arise until he was terminated on

August 21, 2013.56 The Court’s holding today does not go that far. As with the Tanya Hughes

Motion, it is unnecessary to determine when precisely Mr. Cook’s claim arose. It is sufficient to

find that the claim was not within his fair contemplation prior to the City filing its bankruptcy

petition. The Court finds that the two cases cited by the SAAA on this point are not persuasive,

when applied to Mr. Cook’s claim.



         55
           The Court also notes that both the July 26, 2013 Notice of Suspension and the August 21, 2013
Notice of Discharge indicate Mr. Cook was terminated for committing a Group IV offense (“wanton &
willful neglect in the performance of assigned duties”) (Docket # 10183, Ex. 6J, 6L). The “suggested
disciplinary action” for a first Group IV offense is discharge. The only document related to the July 18,
2013 incident that mentions his disciplinary history is the July 25, 2013, Disciplinary Action Fact Sheet.
         56
              See SAAA Br. at 5 (Docket # 10217).

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        In McSherry v. Trans World Airlines, Inc., 81 F.3d 739, 739 (8th Cir. 1996), the court

considered whether an employee’s claim of “discriminatory termination under the Americans

with Disabilities Act (ADA)” arose pre- or post-confirmation.57 The employee was terminated

before the chapter 11 plan was confirmed, but did not receive a “right to sue letter” from the

United States Department of Labor, a jurisdictional requirement under the ADA, until after the

plan was confirmed. Id. at 739-40. The court found the employee’s claim was a pre-

confirmation claim, reasoning that “[b]oth the allegedly unlawful actions and the harm occurred

on the date of termination.” Id. at 740. The court did note that “the ‘occurrence’ in unlawful

termination suits is the termination itself,” but that was in the context of discussing when an

employee can file a “charge” with the Department of Labor under the ADA. Id. at 740-41

(emphasis added). More importantly, the court found that the claim had accrued when the

employee was terminated; the court did not hold that the claim could not have arisen, for

purposes of the fair contemplation test, earlier than the termination date. Id. at 740 (stating that

even the Frenville test would not “help” the employee “because under [the ADA] his claim

accrued at the time of termination, not at the time he received his right to sue letter”). The

question of whether the claim was within the employee’s fair contemplation prior to confirmation

of the chapter 11 plan was simply not before the court, because the court found the claim had

already accrued by that time.

        O’Loghlin v. County of Orange, 229 F.3d 871 (9th Cir. 2000), the other case cited by the



        57
           Under 11 U.S.C. § 1141(d), with certain exceptions, a chapter 11 plan discharges a debtor of
all debts arising pre-confirmation. By contrast, in this case, the City has asked the Court to consider only
whether the claims are discharged because they arose pre-petition. See discussion in footnote 47 of this
opinion.

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SAAA, also involves claims under the ADA. An employee alleged that the County failed to

reasonably accommodate her disability on three different occasions — twice prior to

confirmation of the County’s chapter 9 plan,58 and once after the plan was confirmed. Id. at 873.

Citing McSherry, the court held that the two claims based on the pre-confirmation incidents were

discharged, regardless of when the employee received her “right to sue” letter from the

department of labor. Id. at 874. The court held that the claim based on the third incident was not

discharged, reasoning, “[a] suit for illegal conduct occurring after discharge threatens neither the

letter nor the spirit of the bankruptcy laws.” Id. at 875. The majority of the court’s analysis is

dedicated to a discussion and rejection of the “continuing violation doctrine” to ADA claims

based on post-petition debtor conduct, and to the question of whether the employee should be

required to obtain a second “right to sue letter.” Id. at 874-77. The court did not consider the fair

contemplation test.

        Finally, the SAAA and the City dispute whether the City Employment Terms were

assumed as an executory contract during the Plan confirmation stage of the City’s bankruptcy.

This dispute relates to whether Mr. Cook released his wrongful termination claim by voting to

accept the Plan’s treatment of his pension claim, and whether the Plan’s injunction provisions

apply to his wrongful termination claim. The SAAA argues that the order confirming the Plan59

and the Plan itself both include express exceptions from the waiver and injunction provisions of




        58
          Applying 11 U.S.C. § 944(b), the court in O’Loghlin held that all pre-confirmation debts are
discharged. Again, the City asks this Court to only consider whether pre-petition debts are discharged.
See discussion in footnote 47 of this opinion.
        59
             Docket # 8272.

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the Plan, for claims arising from the breach of executory contracts.60 The City argues that

regardless of whether the SAAA’s interpretation of the Plan and Confirmation Order is correct,

its argument fails because the City did not assume the City Employment Terms during the

bankruptcy. Rather, by the time the Plan was confirmed, the City Employment Terms had been

replaced by a new collective bargaining agreement.61

       The Court finds it is unnecessary to rule on this issue, and declines to do so. The City has

limited its waiver and injunction arguments to pre-petition claims. See discussion in footnote 47

of this opinion. Because the Court has concluded that Mr. Cook’s wrongful termination claim

arose post-petition for bankruptcy purposes, whether the City Employment Terms were assumed

by the City is not important for resolution of the Cedric Cook Motion.

V. Conclusion

       For the reasons stated in this opinion, the Court finds the claims addressed in the NFA

Motion and the Tanya Hughes Motion arose pre-petition. The Court will enter separate orders

granting these two motions in part, as follows:

       Haas will be ordered to dismiss, or cause to be dismissed, the currently pending state

court lawsuit in which Haas represents Summit regarding care Summit provided to Ms. Sheila

Williams (Summit Med. Grp. (Sheila Williams) v. City of Detroit, Wayne County Circuit Court

No. 14-010025-NF). The dismissal of the Summit case will be deemed to be without prejudice

to Summit’s right to be paid in accordance with Article IV, Section 5 of the Plan, to the extent

Summit has not already been paid. In no event are Haas and Summit permitted to pursue any


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            See SAAA Br. at 7-8 (Docket # 10217).
       61
            City’s Reply Br. to SAAA at 2 (Docket # 10285).

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action to recover attorney fees or interest for any delay in the City’s payments.

       Ms. Hughes will be ordered to dismiss, or cause to be dismissed, her currently pending

state court action concerning her dismissal from the Detroit Police Department (Hughes v. City of

Detroit, Wayne County Circuit Court No. 15-002536-CD) and will be enjoined from pursuing

her claim in any other forum. The injunction and dismissal are without prejudice to Ms.

Hughes’s right to file a proof of claim in the City’s bankruptcy case. For the sake of clarity, the

City retains its right to object to Ms. Hughes’s proof of claim on any grounds, including

untimeliness.

       Finally, the Court concludes that the claim addressed in the Cedric Cook Motion

constitutes a post-petition claim. The Court will enter an order denying the Cedric Cook Motion.


Signed on April 15, 2016                              /s/ Thomas J. Tucker
                                                      Thomas J. Tucker
                                                      United States Bankruptcy Judge




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